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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LIQUIDIA TECHNOLOGIES, INC.,

                   Plaintiff,
           v.                                           Case No. 1:24-cv-02428-JDB
UNITED STATES FOOD AND DRUG
ADMINISTRATION; ROBERT M. CALIFF,
M.D., in his official capacity as Commissioner
of Food and Drugs; UNITED STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and XAVIER
BECERRA, in his official capacity as
Secretary of Health and Human Services,

                   Defendants.


                      PLAINTIFF LIQUIDIA TECHNOLOGIES, INC.’S
                       MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiff Liquidia

Technologies, Inc. (“Liquidia”), by undersigned counsel, respectfully moves this Court for a

preliminary injunction enjoining an August 16, 2024 decision (the “Exclusivity Decision”) by

Defendants U.S. Food and Drug Administration (“FDA”), Robert M. Califf, M.D. (in his official

capacity as Commissioner of Food and Drugs), U.S. Department of Health and Human Services

(“HHS”), and Xavier Becerra (in his official capacity as Secretary of HHS) (collectively, “FDA”

or “Defendants”), in which the FDA has refused (for a second time in the past three years) to grant

full approval of Liquidia’s first drug product, Yutrepia, despite findings by the agency on two

occasions that Yutrepia is a safe and effective drug that warrants approval.

       Liquidia makes this motion for preliminary injunction on the ground that Defendants’

Exclusivity Decision to grant three-year new clinical investigation exclusivity (“NCI exclusivity”)

to Tyvaso DPI exceeded FDA’s statutory authority, was arbitrary and capricious, and was contrary
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to law. The Exclusivity Decision unlawfully penalizes the sponsor (Liquidia) who actually

developed the innovation at issue (dry powder inhalation) long before United Therapeutics

Corporation (“UTC”) filed the Tyvaso DPI NDA, while prolonging UTC’s decades-long

monopoly on treprostinil for another nine months—far beyond the statutory limits prescribed by

Congress—to the detriment of patients, competition, and the public health.

       All factors strongly favor this Court’s issuance of a preliminary injunction. Liquidia is

likely to prevail on the merits because FDA’s Exclusivity Decision violates the Federal Food,

Drug, and Cosmetic Act and the Administrative Procedure Act. Preliminary injunctive relief

would serve the public interest by ensuring that FDA adheres to the framework Congress created

for awarding NCI exclusivity only for significant innovations, and that NCI exclusivity applies

only to innovations supported by those new clinical investigations. Such relief would also serve

the public interest by ensuring that patients suffering from pulmonary arterial hypertension

(“PAH”) and pulmonary hypertension associated with interstitial lung disease (“PH-ILD”) have

prompt access to Yutrepia’s potentially life-saving treatment. The Exclusivity Decision is causing

immediate and irreparable harm to both Liquidia, by preventing Liquidia from distributing its first

drug candidate, and to patients nationwide, who would greatly benefit from access to Yutrepia.

       The grounds for this motion are set forth more fully in the accompanying Memorandum of

Law, as well as the declarations of Mike Kaseta and Sonia W. Nath submitted herewith.

       Liquidia requests, pursuant to Local Civil Rule 65.1(d) and for the reasons more fully set

forth in its supporting memorandum, that the Court schedule a hearing on this motion as soon as

possible after the filing of this application to avoid severe irreparable harm. Liquidia respectfully

requests that the Court schedule oral argument no later than September 17, 2024.




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       As required by Local Civil Rule 7(m), counsel for Liquidia conferred with counsel for

Defendants on August 26 and 27, 2024. Defendants’ counsel informed undersigned counsel that

Defendants oppose the relief requested in this motion. Because the requested relief would be

entered against FDA and the other federal defendants, it presents no risk of monetary damage to

those parties, such that no bond is necessary pursuant to Rule 65(c) of the Federal Rules of Civil

Procedure.

       Accordingly, Liquidia respectfully requests that this Court issue a preliminary injunction

setting aside the Exclusivity Decision and requiring FDA to grant full approval to Yutrepia for

both the PAH and PH-ILD indications, or at minimum PH-ILD.

Dated: August 27, 2024                          Respectfully submitted,

                                                By: /s/ Sonia W. Nath
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